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                                                     December 14, 2023
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                                                    WESTERN DISTRICT OF TEXAS

                                                                 LRT
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